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    ~AO 245D (CASD) (Rev. 1/12)   Judgment in a Criminal Case for Revocations
               Sheet 1

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                                            UNITED STATES DISTRICT COURT.V
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                  flY
                  UNITED STATES OF AMERICA                                      JUDGMENT IN A CRlMINALeASE
                                       v.                                       (For Revocation of Probation or Supervised Release)
                   DEMITRO CONTRERAS (14)                                       (For Offenses Committed On or After November I, 1987)


                                                                                Case Number: 06CR1243-DMS

                                                                                Brian P Funk CJA
                                                                                Defendant's Attorney
    REGISTRATION No. 99629198
o
    THE DEFENDANT:
     o  admitted guilt to violation ofallegation(s) No.,,.;,3_a...n...d_4_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o   was found in violation of allegation(s) No.                                                     after denial of guilt,

    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number              Nature of Violation
            3         Unlawful use of a controlled substance
            4         Failure to report change in residence




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through                     2      of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984,


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                APRIL 9, 2013
                                                                                Date of Imposition of Sentence




                                                                                                ~~
                                                                                HON. DANA M. SABRAW
                                                                                UNITED STATES DISTRICT JUDGE




                                                                                                                                       06CR1243-DMS
   Case 3:06-cr-01243-DMS                            Document 1460 Filed 04/09/13                   PageID.14390             Page 2
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AO 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations
             Sheet 2 ..- Imprisonment

                                                                                                  Judgment   Page   2   of       2
 DEFENDANT: DEMITRO CONTRERAS (14)
 CASE NUMBER: 06CR1243-DMS
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         NINE (9) MONTHS.




    o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Oa.m.             Op.m.    on _ _ _ _ _ _ _ _ _ _ __

                 as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before -----------------------------------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                           RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                        to

 at _______________________ , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                                 By
                                                                                             DEPUTY UNITED STATES MARSHAL




                                                                                                                        06CR1243-DMS
